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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                     8:23MJ628
                      Plaintiff,                     1:23CR195

       vs.

TRENT JAMES RUSSELL
                                                                Magistrate Judge Bazis
                      Defendant.

                                           RULE 5 ORDER

         An Indictment and Warrant (charging document) having been filed in the Eastern District
of Virginia, charging the above-named defendant with (Count 1)18:1519 DESTRUCTION AND
ALTERATION OF RECORDS; (Count 2) 42:1320d-6(a)(2) and (b)(1) OBTAINING
INDIVIDUALLY IDENTIFIABLE HEALTH INFORMATION; (Count 3) 42:1320d-6(a)(3) and (b)(1)
DISCLOSING INDIVIDUALLY IDENTIFIABLE HEALTH INFORMATION and the defendant
having been arrested in the District of Nebraska, proceedings to commit defendant to another
district were held in accordance with Fed.R.Cr.P. Rule 5. The defendant had an initial
appearance here in accordance with Fed.R.Cr.P.5 and was informed of the provisions of
Fed.R.Cr.P.20.

       Additionally, defendant

 ☒      Waived an identity hearing and the production of the warrant and admitted that he was
        the person named in the aforementioned charging document.

 ☒      The government did not move for detention.

 ☒      Was given a detention hearing in this district.

       Accordingly, it is ordered that the defendant is held to answer in the prosecuting district.

☒       Defendant has been released in accordance with the provisions of the Bail Reform Act
        of 1984, 18 U.S.C. § 3141 et.seq. The defendant is to appear before the district court
        of the prosecuting district at such times and places as may be ordered. All funds, if
        any, deposited on behalf of this defendant with the Clerk of Court pursuant to the Bail
        Reform Act, shall be transferred to the prosecuting district.

       IT IS SO ORDERED.

       DATED: December 20, 2023.

                                                     s/ Susan M. Bazis
                                                     U.S. Magistrate Judge
